              Case 12-21455-MBK                      Doc 38       Filed 03/18/13 Entered 03/18/13 21:28:55                                   Desc Main
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Office Mailing Address:                                                                                                                  Send Payments ONLY to:
Albert Russo, Trustee                                                                                                                       Albert Russo, Trustee
CN 4853                                                                                                                                              PO Box 933
Trenton, NJ 08650                                                                                                                        Memphis, TN 38101-0933

                                            OFFICE OF THE STANDING CHAPTER 13 TRUSTEE
                                                      REPORT OF RECEIPTS AND DISBURSEMENTS
                                                     Activity for the period from 01/01/2012 to 02/20/2013
                                                               Chapter 13 Case # 12-21455 / MBK




                                                                                                                                   Petition Filed Date: 05/01/2012
                Linda J Iannone
                104 Poplar Street                                                                                                   341 Hearing Date: 06/07/2012
                Carteret, NJ 07008                                                                                                 Confirmation Date: 07/10/2012



                                                                  Case Status: Open / Confirmed
                                           RECEIPTS / PAYMENT HISTORY FOR THE TIME PERIOD SELECTED

 Date                           Amount   Check No.         Date                      Amount    Check No.          Date                       Amount       Check No.

 06/13/2012                 $200.00      58921911609       07/09/2012                $200.00   58921912610        08/07/2012                 $200.00      58953379837
 09/11/2012                 $200.00      58975491058       10/16/2012                $200.00   58975602983        11/15/2012                 $200.00      58975603764
 12/12/2012                 $200.00      98418358907       01/15/2013                $200.00   98418361954        02/14/2013                 $200.00      59019811147

                      Total Receipts for the Period: $1,800.00 Amount Refunded to Debtor Since Filing: $0.00 Total Receipts Since Filing: $1,800.00



                                           DISTRIBUTIONS TO CREDITORS FOR THE TIME PERIOD SELECTED

                                                                    CLAIMS AND DISTRIBUTIONS
Claim #                             Claimant Name                               Class                      Claim Amount        Amount Paid      Balance Due

     0        Linda J Iannone                                        Debtor Refund                                $0.00              $0.00               $0.00
     0        STEVEN J ABELSON, ESQ                                  Attorney Fees                            $1,900.00          $1,334.80             $565.20
     1        SELECT MEDICAL CORPORATION                             Unsecured Creditors                        $165.91              $0.00             $165.91
     2        CAVALRY PORTFOLIO SERVICES, LLC                        Unsecured Creditors                      $4,399.37              $0.00        $4,399.37
              »» HSBC/ORCHARD
     3        BUREAUS INVESTMENT GROUP PORTFOLIO                     Unsecured Creditors                     $11,742.63              $0.00       $11,742.63
              NO 15 LLC
              »» HSBC
     4        INTERNAL REVENUE SERVICE                               Unsecured Creditors                     $51,189.01              $0.00       $51,189.01
     5        NJ DIVISION OF TAXATION                                Secured Creditors                        $5,222.71              $0.00        $5,222.71
              »» 2007 & 2008; JUDGMENT 11,145-11
     6        NJ DIVISION OF TAXATION                                Unsecured Creditors                        $557.62              $0.00             $557.62
     7        PORTFOLIO RECOVERY ASSOCIATES                          Unsecured Creditors                      $6,228.05              $0.00        $6,228.05
              »» CAPITAL ONE
     8        OAK HARBOR CAPITAL, LLC                                Unsecured Creditors                      $2,168.01              $0.00        $2,168.01
              »» CAPITAL ONE
     9        OAK HARBOR CAPITAL, LLC                                Unsecured Creditors                      $1,066.84              $0.00        $1,066.84
              »» CAPITAL ONE




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Chapter 13 Case # 12-21455 / MBK
                                                                   SUMMARY

          Summary of all receipts and disbursements from date filed through February 20, 2013.

                   Total Receipts:                 $1,800.00                  Plan Balance:              $33,923.00 **
                   Paid to Claims:                 $1,334.80                  Current Monthly Payment:      $200.00
                   Paid to Trustee:                   $65.20                  Arrearages:                     $0.00
                   Funds on Hand:                    $400.00                  Total Plan Base:           $35,723.00


          NOTES:

          • Pay your Trustee payment online! Go to www.russotrustee.com/epay to learn more.

          • Your case information is available at the National Data Center. Please visit www.13datacenter.com and
          click on the link for new debtor access.


          **This is an approximate balance. Additional allowed claims and other variables may affect the
          amount to complete the plan.




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